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EXHIBIT A:
DECLARATION OF TODD W. FILSINGER,
FILSINGER ENERGY PARTNERS

November 24, 2015

Highly Confidential — Filed Under Seal

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LIST OF ACRONYMS AND TERMS

AIP — Annual Incentive Plan

Business Services — EFH Corporate Services Company and affiliates
CEO — Chief Executive Officer

CQ — Customer Quality

CapEx — Capital Expenditures

Company — Energy Future Holdings Corp. and its subsidiaries

DSO — Days Sales Outstanding

EAF — Equivalent Availability Factor

EAIP — Executive Annual Incentive Plan

EBITDA — Earnings before interest, taxes, depreciation and amortization
EES — Energizing Event Success

EFH — Energy Future Holdings Corp. and its subsidiaries

EIV — Economic Incremental Value

ERCOT — Electric Reliability Council of Texas

ESB — Energy Supply Book

FEP —Filsinger Energy Partners

FERC — Federal Energy Regulatory Commission

GWh — Gigawatt-hour

HSC — Houston Ship Channel natural gas delivery location

IT — Information Technology

KLPP — Key Leader Performance Plan

LCIP — Luminant Energy Commercial Incentive Plan

LOIE — Lights Out in Error

LRP — Long Range Plan

Luminant — Luminant Holding Company LLC and its subsidiaries
MMBtu — Million British Thermal Units

MW — Megawatt

MWh — Megawatt-hour

NERC — North American Electric Reliability Corporation

NRC — U.S. Nuclear Regulatory Commission

O&M — Operating and Maintenance

Oncor — Oncor Electric Delivery Holdings Company LLC and its subsidiaries
OSHA — Occupational Safety and Health Administration

PRB — Powder River Basin coal

PUCT — Public Utility Commission of Texas

pe-GAR — North American Electric Reliability Corporation’s Generating Availability Report
REPs — Retail Electricity Providers

SG&A — Selling, General and Administrative

SSIA — Strategy & Policy Committee Supplemental Incentive Award
TXU Energy or TXUE — TXU Energy Retail Company LLC and its affiliates

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1 EXECUTIVE SUMMARY

Filsinger Energy Partners (“FEP”) and |, Todd W. Filsinger, a senior managing director of FEP, have been
asked by counsel for Energy Future Holdings Corp. and its subsidiaries (“EFH” or the “Company”) to
independently assess the reasonableness of the performance metrics that trigger payment of incentive
compensation for certain selected members of senior management in the Company’s Annual Incentive
Plan (“AlP”)!, Executive Annual Incentive Plan (“EAIP”)’, EAIP/AIP Luminant Safety Program Incentive
Plans, Luminant Energy Commercial Incentive Plan (“LCIP”), Key Leader Performance Plan (“KLPP”), and
Strategy & Policy Committee Supplemental Incentive Award (“SSIA”) for the year 2016. As with the 2014
and 2015 plans, | was asked to evaluate whether the 2016 performance metrics are primarily
incentivizing—that is, whether they are stretch goals as opposed to easy to achieve.

| filed similar declarations with the Court on August 8, 2014 and November 21, 2014 in connection with
the 2014 Insider Compensation Motion (“August 2014 FEP Declaration”)? and the 2015 Compensation

Programs Motion (“November 2014 FEP Declaration”)*, respectively. Rather than repeating my analyses

from those declarations, | will refer to (and incorporate by reference) my earlier analyses in discussing,
for example, (1) the underlying risks associated with the operations of EFH, (2) my and FEP’s
qualifications, (3) the overview of EFH’s operations, and (4) the overview of the Electric Reliability
Council of Texas (“ERCOT”) market.

Scorecard Metrics

As in previous years, the scorecard metrics for the EAIP, AIP, KLPP, SSIA, EAIP/AIP Luminant Safety
Program Incentive Plans, and the LCIP are based on targets in the 2016 annual budget and Long Range
Plan (“LRP”) that the Company developed from the ground-up. The Company's process for planning and
developing the annual budget stretches across a number of months, and involves detailed modeling for
each business unit and a robust review of the targets throughout all levels of the organization.

EAIP/AIP Scorecard Metrics
EFH's competitive operating business units consist primarily of Luminant Holding Company LLC and its
subsidiaries (“Luminant”) and TXU Energy Retail Company LLC and its affiliates (“TXU Energy” or

' The Company maintains the AIP for employees below the level of Vice President.

* The Company maintains the EAIP for approximately 66 individuals at or above the level of Vice President. Twenty-two
Company employees within the EAIP are considered insiders.

* Declaration of Todd W. Filsinger in Support of Motion of Energy Future Holdings Corp., et al., for Entry of an Order
Authorizing the Debtors to (A) Pay Certain Prepetition Amounts on Account of the Insider Compensation Programs and (B)

Continue the Insider Compensation Programs in the Ordinary Course of Business on a Postpetition Basis (D.1. 1793)

* Declaration of Todd W. Filsinger in Support of Motion of Energy Future Holdings Corp., et al, for Entry ofan Order
Approving the 2015 Compensation Programs Motion [D.1. 2852)

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“TXUE”), EFH Corporate Services Company and affiliates (collectively “Business Services”) are additional

EFH subsidiaries that manage shared corporate cost functions. Based on the 2016 annual budget and
LRP, the Company developed an EAIP/AIP scorecard for each business unit—Luminant, TXU Energy and
Business Services—that tailors the incentive metrics to the key financial and operational performance
drivers for that particular entity. The metrics used in the EAIP/AIP scorecards incorporate the same
concepts as those that have been used by the Company for at least the last seven years.

For 2016, Luminant’s EAIP/AIP metrics focus on earnings before interest, taxes, depreciation and
amortization (“EBITDA”) (50% weight), plant availability (20% across coal-fired facilities in the summer
months and nuclear facilities year round), and total costs (30%). Meanwhile, the EAIP/AIP metrics at
TXU Energy focus on EBITDA (40% weight) as well as total costs (20%), contribution margin (15%), total
customer counts (10%) and customer experience (15%). While the metrics for Luminant and TXU Energy
focus on performance of those business units, the two metrics at Business Services are derived from the
overall scorecard results from Luminant and TXU Energy performance metrics.

The Company established a payout range based on varying levels of performance—threshold, baseline,
and superior—for each EAIP/AIP scorecard metric. If actual performance does not meet the threshold
performance level hurdle, the Company will not pay out an incentive compensation payment for that
particular metric. If actual performance exceeds the baseline performance level hurdles, the Company
will cap the incentive payout at the superior performance level. As a general matter, by meeting these
metrics, and holding all else equal, management will increase value for the Company and its
constituencies.

The 2016 scorecards for the EAIP and AIP are shown in Table 1-1 below.

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Table 1-1: EAIP/AIP Metrics

Luminant Management EBITDA ($ mm) 50
cuminanr |@O% Available Generation (GWh) (Jun-Sep 15) 12.5

Nuclear Available Generation (GWh) 7.5 19,720 20,216

Luminant Total Cost ($ mm) 30

TXU Energy Management EBITDA ($ mm) 40

TXU Energy Total Costs ($ mm) 20

Contribution Margin (S/MWh) 15

Residential Ending Customer Count (000's) 10 1,374 1,416 1,459
ener TXUE Customer Satisfaction % 3 83.70% 85.70% 87.70%

Average Days Sales Outstanding 3 41.6 40.0 38.4

TXUE Energizing Event Success (lssues) 3 99.84% 99.92% 99.96%

TXUE Customer Complaints 3 690 575 460

TXUE System Availability % (Uptime) 3 99,85% 99.93% 99.97%
BUSINESS |Luminant Scorecard Multiplier (%) 50 50% 100% 200%
SERVICES lt Energy Scorecard Multiplier (%) 50 50% 100% 200%

Metrics for EAIP/AIP Luminant Safety Program Incentive Plans

Luminant has two separate incentive programs to incentivize safety at its nuclear and fossil generation
plants.

Luminant’s fossil safety program includes operations at its coal plants, natural gas plants, and mining
operations, and is quantified through a “Safety Index” for each operational unit. Safety Indices are
based on the evaluation of defined objectives for participation in pre-job briefings for various levels of
employees—senior leadership, front line supervisors and craft personnel—at the mines (70% weight),
plus safety results (30%) based on Occupational Safety and Health Administration (“OSHA”) recordable
injuries.

Luminant’s nuclear safety program features metrics that are the same as those utilized in 2015. These
safety metrics are based on the combined evaluation of site leadership engagement (25% weight),
hazard recognition (25%), behavior recognition (20%), and the number of OSHA recordable injuries for
the year (30%). Additionally, specific “Nuclear Safety” metrics are included for radiological exposure
measurements, significant station events, environmental rating criteria, and various standardized
performance indicators tracked by the United States Nuclear Regulatory Commission (“NRC”).

LCIP Metrics

The key driver of the LCIP is the Economic Incremental Value (“EIV”)—net profits—attributable to
hedging and trading transactions executed in 2016, and by internal transactions that are transacted at
2016 budgeted commodity prices.

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Individuals are only compensated under the LCIP if EIV exceeds | peel AR| Starting at that level, LCIP
participants begin to earn {al of the EIV on the next incremental eee of value. Beyond (|
(Rema of total value, participants earn higher percentages for incremental value earned by Luminant
with a peak percentage for 2016 of a.

KLPP Metrics

For the KLPP, two scorecard metrics are used: Competitive Management EBITDA (60% weight) and
Competitive Total Spend (40%) for threshold and baseline levels only. Competitive Management EBITDA
is defined as EBITDA for all EFH entities except Oncor Electric Delivery Holdings Company LLC and its
subsidiaries (“Oncor”), Accordingly, results are driven by the operating entities Luminant and TXU
Energy except for an immaterial level of EBITDA at the corporate level. The second metric, Competitive
Total Spend, encompasses all costs and expenses (including capital expenditures (“CapEx”)) incurred by
all of the non-Oncor EFH subsidiaries. This metric is the sum of a number of other metrics discussed in
other sections of the report—specifically, Luminant Total Cost and TXU Energy Total Costs, plus
approximately $60 million of corporate selling, general and administrative (“SG&A”) expenses and
CapEx.

The 2016 scorecard for the KLPP is shown in Table 1-2 below:

Table 1-2: KLPP Metrics

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Competitive Management EBITDA ($ mm)

Competitive Total Spend ($ mm)

SSIA Metrics

The SSIA metrics use the same Competitive Management EBITDA targets—for the threshold and
baseline levels only—that are used for the 2016 KLPP, as depicted in Table 1-2. There is not a superior
target above the baseline for the SSIA. If the Company achieves Competitive Management EBITDA
between the threshold and baseline levels, SSIA participants (members of the Strategy & Policy
Committee) would receive an amount determined by linear interpolation between the threshold and
baseline awards (as is the case for the AIP and EAIP programs, as well).

FEP’s Involvement and Summary of Opinions Concerning Performance Metrics

FEP has been involved in the Company's budget process for the past three planning years and
independently reviewed and assisted in the calibration of the performance metrics that were derived
from those budgets. As part of that effort, FEP independently modeled the businesses for 2016, visited
the power generation plants, mines and retail operations, interviewed key staff, and gathered relevant
comparative industry data for each scorecard metric that was available from market sources or from

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internal EFH or FEP sources. FEP then analyzed potential outcomes and magnitudes of the downside
risks for each specific metric—within the context of the broader energy market—to understand whether
those metrics are in fact incentivizing stretch goals or mere lay ups that are likely to be attained no
matter the quality of the Company's performance. FEP reviewed and evaluated each scorecard metric,
consulted with Company management, and made recommendations—which were ultimately accepted
and implemented by the Company.

Based on my experience, observation of the Company's management and operations, and detailed
review and analysis of a complicated mix of risk factors, it is my opinion that the performance metrics in
the 2016 EAIP/AIP programs, as in past years, are challenging to achieve, reasonable, and fairly
incentivize plan participants. In each instance, the EAIP/AIP performance metrics—as well as the
metrics for the EAIP/AIP Luminant Safety Program Incentive Plans, LCIP, KLPP, and the SSIA—constitute
stretch goals that incentivize and reward exceptional employee performance; there is no guarantee that
the Company will meet any of the metrics in this business environment. As | explained in my
declarations in connection with the 2014 and 2015 programs, there are a number of risks that could
cause results to differ materially from the metrics including, but not limited to, those associated with:

e Energy commodity price volatility;

e Temperature variation (either extremes of heat or cold);

e The unique structure of the Texas energy market;

e Operating costs of the Company’s nuclear and fossil fuel generation facilities;

® Mine operating costs;

e Supply and demand forces within commodity, workforce and industrial markets;

e Existing generation assets and fuel mix;

e Fuel, emission and other variable price inputs;

e Regulatory or legislative changes that might affect the market in which the Company operates;

e Broader economic conditions;

e The Company's ability to collect trade receivables from counterparties;

e The Company’s ability to attract, retain and service profitable retail customers;

e Changes in the prices of transportation of natural gas, coal and other fuel products;

e Market heat rates in ERCOT;

e The Company’s ability to effectively hedge against volatile commodity prices;

® Access to adequate transmission facilities;

® The Company’s ability to profitably implement cost savings without sacrificing safety or the

quality of the Company’s products; and

e The nature and impact of current and future environmental regulations.

The risk factors, which may change in relative importance year-over-year or month-to-month, affect
each of the metrics in some way, especially EBITDA, the most heavily weighted EAIP/AIP metric at both

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Luminant (50%) and TXU Energy (40%). Based on FEP’s modeling efforts, as well as FEP’s analysis of
Company and third-party information, it is clear that the threshold EBITDA metrics that trigger a bonus
require strong performance in a complex and highly interrelated power market environment that has
exhibited considerable volatility.

At Luminant, the availability of its summer coal- and year-round nuclear-fueled plants make up 20% of
the bonus associated with Luminant’s EAIP/AIP metrics, while Total Cost (a summation of Operating and
Maintenance (“O&M”) costs, SG&A costs and CapEx) makes up 30%. To earn the threshold bonus,
Luminant’s management must meet or beat comparable industry averages for these metrics.

TXU Energy operates in the extremely competitive Texas retail electricity industry, and other retail
electricity providers (“REPs”) market heavily to TXUE customers in the hopes of luring them away. al

|S] Similarly, a few days of abnormally hot or cold weather over the course of the year could easily
result in TXU Energy missing its EBITDA and margin targets.

TXU Energy has set the bar on its Customer Experience metrics very high. For example, to earn a bonus
in the EAIP/AIP, TXU Energy management must achieve nearly-perfect 99.84% and 99.85% marks,
respectively, on the Energizing Event Success metric (which tallies the success of uninterrupted hookups
and service for its customers) and the System Availability metric. TXU Energy has also targeted a best in
class standard for its customer complaints to the Public Utility Commission of Texas (“PUCT”).

Each of the EAIP/AIP performance metrics at Luminant and TXU Energy—and, by extension, the metrics
at Business Services, which consolidate the Luminant and TXU Energy total scorecards—challenge the
Company’s key employees to perform at their highest levels. The metrics, if met or exceeded, will
increase the value of the Company's estates for the benefit of creditors and other stakeholders.

EAIP/AIP Scorecard Modifications for 2016

For 2016, Luminant and Business Services have streamlined their metrics to better align corporate
objectives with the current business and market environment. These modifications are shown in Table
1-3 below.

Luminant Modifications

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The Luminant metric modifications take into account changing market conditions, driven by low 2016
power market prices, which have led to (1) a continuation in the practice of operating certain coal-fired

generation units in the summer months only, plus (2) PgR MILA AE An 5 are ih Jee ae L]
(Tee NSP: ppt tse arp es AL. pcp periah| These changing market conditions led to the exclusion of

the non-summer coal availability metric this year.

Additionally, Luminant has combined its former 2014 and 2015 metrics for O&M and SG&A costs and
CapEx into a single Total Cost metric. Within the energy industry, there are no definitive industry
standards or rules for reporting cash outflows as either CapEx or O&M. Energy companies rely on their
individual tax and financial business processes to determine the reporting nomenclature for these types
of cash outflows. The combination of the O&M, SG&A and CapEx metrics into one Total Cost metric will
provide the Company with the ability to better compare Luminant to publically available industry

information.

Lastly, Luminant has excluded the previously used Coal Fuel Cost metric because the Company is
beginning to transition away from mining lignite coal at various generation sites. Lignite coal is being
replaced with coal acquired and transported from the Powder River Basin (“PRB”) as the primary
generation fuel for these generation sites. This metric has become less relevant to the Company’s
incentive program because the costs of PRB coal are more heavily influenced by market conditions than
by the Company's mining business practices and efficiencies. It is important to note that coal fuel costs
are still embedded in the derivation of the Management EBITDA metric for Luminant, so any material
change in coal fuel costs will have a direct impact on actual performance versus the Management
EBITDA objectives.

Business Services Modifications

For Business Services, the metrics have been streamlined to ensure that individuals within corporate
functions are fully aligned with their counterparts at the operational subsidiaries. Specifically, the
Competitive Management EBITDA, Competitive Total Spend, and EFH Business Services Cost Metrics
have been eliminated from the EAIP/AIP scorecard for 2016—though Competitive Management EBITDA
is still used for the KLPP and SSIA, and Competitive Total Spend is still used for the KLPP.

Comparison of 2015 & 2016 EAIP/AIP/KLPP/SSIA Scorecard Metrics

| considered the 2015 performance metrics, which were previously approved by the Court, in evaluating
the 2016 scorecard. Market conditions, commodity pricing, and plant operations change year-over-year
and, as a result, previous targets do not necessarily provide an apples-to-apples comparison for the
2016 metrics, Table 1-3 compares the 2015 and 2016 performance metrics, highlighting the 2016
metrics that have changed year over year, either in terms of their relative weightings or modifications to
the metrics as discussed above.

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Table 1-3: Comparison of 2016 EAIP/AIP & 2015 EAIP/AIP Metrics

2016 EAIP/AIP 2015 EAIP/AIP
PS Tsaeniee! ACU Ur CL ale ud pdt i si illus He bk d per pty A hg bP tas ett
Luminant Management EBITDA ($ mm) 50 37.5 14% 14% 10%
Coa! Available Generation (GWh) (Jun-Sep 15) 12.5 10 3.2% a 3.2% 3.2%
Nuclear Available Genoration (GWh) 7.5 7.6 2.5% 20.216 1.6% 2.5% 20,272 16%
Lunar Luminant Total Cost ($ mm) 3% 5% fmesPal % % 4%
Luminant O&M/SGBA ($ mm) 16 A% 6%
Luminant Capex ($ mm) 10 % 6%
Coal Available Generation (GWh) (Jan-May Sep 16-Dec) 10 “3% 3,066 A%e
Coal Fue! Costs (SWMMBiu consumed) 10 5% 1,73 8%
TXU Enemy Management EBITDA ($ mm) 40 40 10% 10% “10%
TXU Energy Total Costs ($ mm) 20 20 5% 5% 5%
Contribution Margin ($/MWh) 15 16 -8% 8% 8%
Residential Ending Customer Count (000's) 10 10 3% 1,416 3% 3% 1,416 3%
sieney TXUE Customer Satisfaction % 3 3 2% 85.70% 2% -2% 85.60% 2%
Average Days Sales Outstanding 3 3 4% 40.0 4% ay 39.7 Aa
TXUE Energizing Event Success (Issues) 3 3 0.08% 99.92% 0.04% 0.08% 99.91% 0.01%
TXUE Customer Complaints 3 3 20% 575 -20% 20% 595 -20%
TXUE System Avaiability % (Uptime) 3 3 0.08% 99.93% 0.04% 0.08% 99.93% 0.04%
Luminant Scorecard Multiplier (%) 50 20 50% 100% 100% -50% 100% 100%
. TXU Enoigy Scorecard Multiplier (%) 50 20 60% 100% 100% -50% 100% 100%
ae Compatiliie Managerent EBITDA ($ mm) 20 10% | Same 10%
Compatitive Total Spend ($ mm) 20 4% 4%
EFH Business Semces Cosis ($ mm) 20 5% 240 10%
= 2016 metrics where the metic was combined from past metrics, or the metric payout weighting has been adjusted from 2015 levels
~ 2015 EMP/AP metrics that ere used solely for KIPP & SSIA purposes in 2016

2015 metrics thatare no longer being utilized for EAIP/AIP purposes
# ie

As mentioned above, the threshold, baseline and superior performance targets for 2016 are different
than the 2015 levels simply due to changes in market conditions, commodity pricing, and plant

operations year-over-year. For example:

e Luminant and Competitive Management EBITDA. For 2016, Luminant Management EBITDA

and Competitive Management EBITDA

Lower power prices

are projected to have negative impact on Luminant and Competitive EBITDA, as Luminant
expects that its baseload coal and nuclear units will generate approximately 70 gigawatt-hours
(“GWh”) of energy in 2016.

e Luminant Total Cost and Competitive Total Spend. In 2016, Total Cost projections for Luminant

 kminant capital
expenditure projections for 2016 are ey ee We while O&M/SG&A
costs are | FORE Ace |LS S ER Both of these decreases in Total Cost are related to

an aggressive cost and capital maintenance program that Luminant has deployed to partially
offset lower baseload generation margins caused by lower power prices, plus lower nuclear fuel
purchase levels in 2016.

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e Contribution Margin.

e Residential Ending Customer Count. Even though TXU Energy has experienced residential
customer attrition during 2015, the 2016 baseline performance level for this metric is equal to
the baseline level for 2015. For 2016, TXU Energy expects to have a residential customer
attrition rate of 2.0%, nearly one-half of the baseline 2015 attrition rate of 3.5%. The 2016
threshold target is slightly higher than the 2015 threshold level—a difficult objective to achieve
in light of actual residential customer losses that have been experienced in 2015,

Other than the metric modifications and weightings for 2016, the ranges applied between threshold and
baseline performance targets are the same as 2015, either on a percentage basis or a dollar basis by

metric.

After incorporating all of these variances from the 2015 performance metrics, the 2016 metrics are
challenging and motivate participants to reach difficult to achieve threshold levels—and thereby drive
performance of the Company as a whole.

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2  FILSINGER ENERGY PARTNERS

FEP is an energy advisory firm that provides high-level strategy, economic and market evaluation,
corporate budget development, compensation program design, gross margin forecasting, power and
fuel price forecasting, risk management, independent engineering, expert testimony, and complete
interim management solutions to energy, industrial, and manufacturing companies and_ their
stakeholders. |, Todd W. Filsinger, founded FEP in 2010 after many years in other roles as an engineer,
management consultant and energy executive. As a senior managing director at FEP, | have assembled a
team of experts who have been intimately involved in many of the key restructurings and financings in
the electric power sector over the past three decades. My background and qualifications are described
in further detail in Section 2.1 of my August 2014 FEP Declaration, which | incorporate by reference
here.

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3  EFH OVERVIEW

EFH is the largest producer and distributor—and one of the largest retailers—of electricity in Texas. Its
portfolio includes both competitive and regulated energy companies. EFH's competitive businesses
consist primarily of Luminant and TXU Energy. EFH’s regulated operations consist of Oncor. | have
provided more detail about EFH’s operations in Section 3 of my August 2014 FEP Declaration, which |
incorporate by reference here.

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4 DERIVATION OF THE BUSINESS PLAN AND 2016 EAIP/AIP METRICS

4.1 Overview of the Planning and Budgeting Process

EFH has a robust planning and budgeting process, which | described in detail in my August 2014 FEP
Declaration. In short, the budget is developed through both bottom-up forecasting and budgeting from
its individual business units, and top-down goal-setting from the Company's corporate management.
Instead of repeating my earlier discussion of the budgeting and scorecard-setting processes—which
were materially the same for 2016 as they were for 2014 and 2015—! am incorporating Section 4 of my
August 2014 FEP Declaration by reference here.

4.2 FEP’s Role in the Planning Process

EFH hired FEP in December 2012 to provide energy advisory services, including independent advice with
regard to the Company's annual planning process and incentive-based pay programs. FEP has
independently modeled the EBITDA of Luminant and TXU Energy for 2016. FEP reviewed the process
and timelines associated with development of the annual budget and LRP and incentive pay
performance metrics for fiscal year 2016. Over the past three years, FEP frequently engaged with the
EFH Organization & Compensation Committee and business unit personnel to conduct due diligence,
construct financial and economic models, and provide input as part of its efforts in evaluating whether
the incentive-based metrics are incentivizing in nature. FEP’s analysis and insights have benefitted from
numerous meetings with Company managers and executives.

In its assessment of the Company's EAIP/AIP metrics, FEP analyzed the performance metrics through its
fundamental electric power market model as well as FEP-proprietary dispatch and market compensation
models, plus its proprietary retail forecasting model. FEP also compared the Company's performance
metrics against available industry information, where appropriate.

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5 COMPENSATION METRIC ANALYSIS

5.1 Luminant

As | explained in my declarations and in my trial testimony related to the 2014 and 2015 EAIP/AIP
processes, Luminant’s ability to generate EBITDA is heavily dependent on multiple interrelated risk
factors. The Company thus must incentivize and evaluate its managers through a range of performance-
based metrics, including business unit EBITDA, as well as cost, capital expenditures, and operational
factors that influence the enterprise value of the Company. This section provides an overview of
Luminant’s EAIP/AIP performance metrics for 2016, and then discusses risk factors that create
uncertainty around those metrics, followed by an analysis of comparative industry performance and
realistic scenarios that could negatively impact EBITDA. It concludes with a detailed look at each of the
other metrics that Luminant uses to incentivize top-tier managerial performance in its EAIP/AIP
programs, often in the face of uncontrollable and challenging market conditions.

Luminant has streamlined its metrics to better align with current corporate objectives within the
business and market climate that exists today. For 2016, the modifications in Luminant metrics take
into account changing market conditions, driven by low 2016 power market prices, which have led to (1)
a continuation in the practice of operating certain coal-fired generation units in the summer months
Sly, ple (71 [ISIS AE Sa TSR ae SIPS URC OPEL eae
The non-summer coal availability metric has been excluded this year, due to changing market conditions
which have decreased the economic impact of non-summer coal-fired generation margins. Additionally,
Luminant has combined its former 2014 and 2015 metrics for O&M and SG&A costs and CapEx into a
single Total Cost metric. Within the energy industry, there are no definitive industry standards or rules
for reporting cash outflows as either CapEx or O&M. Energy companies rely on their individual tax and
financial business processes to determine the reporting nomenclature for these types of cash outflows.
The combination of the O&M, SG&A and CapEx metrics into one Total Cost metric will provide the
Company with the ability to better compare Luminant to publically available industry information.
Lastly, Luminant has excluded the previously used Coal Fuel Cost metric as the Company begins to
transition away from mining lignite at the Big Brown and Monticello generation sites and utilizes more
coal acquired and transported from the Powder River Basin as the primary generation fuel for these
sites.

It is important to note that coal fuel costs are still embedded in the derivation of the Management
EBITDA metric for Luminant, so any material change in coal fuel costs will have a direct impact on actual
performance versus the Management EBITDA objectives.

5.1.1 Overview of Luminant Performance Metrics

Luminant’s EAIP/AIP performance metrics for 2016 are as follows:

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Table 5-1: Luminant EAIP/AIP Metrics

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1 Luminant Management EBITDA (% mm) 50

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3. Nuclear Available Generation (GWh) 7.5

“4 Luminant Total Cost ($mm) 30

s. ‘ast Payout SREP SEPP H SETTERS CHER EP eee ; a

The scorecard in Table 5-1 was developed based on the Company's annual budget for 2016, with the
threshold and superior metrics intended to account for potential volatility and market risk, as well as to
incentivize strong performance.

5.1.2 FEP’s Metric Analysis

The following subsections detail FEP’s analysis of Luminant’s 2016 EAIP/AIP metrics and targets.
5.1.2.1 Luminant Management EBITDA

EBITDA is the most heavily-weighted metric upon which the Company evaluates the success of
Luminant’s management under the EAIP/AIP. Luminant’s EBITDA is driven by revenues and expenses
related to the generation of electric power, as well as hedging and trading activities. In a competitive
wholesale market like ERCOT, generation revenues are driven by the market price of electric power and
the overall demand (i.e., “load”) of electricity on the system. Generation costs are a function of fuel,
O&M costs and overhead expenses. Both generation revenues and costs are impacted by the
operational availability of Luminant’s generation units, many of which are decades old and face complex
technical and regulatory challenges. Hedging and trading margins are affected by commodity price
movements, market liquidity and wholesale sales to TXU Energy.

Luminant operates in a volatile, commodity-driven business. Its EBITDA targets are highly sensitive to
variations in a number of risk factors including, but not limited to: weather, load, power prices, natural
gas prices, fuel costs, availability of power plants, fixed and variable costs (O&M, SG&A, etc.), and
hedging/trading activity.

As | have previously explained, these performance risk factors are highly interrelated, and Luminant has
varying levels of control over each, as illustrated in Figure 5-1,

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Figure 5-1: Relationship of Luminant Risk Factors Managed by an Integrated Risk Management Framework

it is critical to note the large number of factors that are outside of Luminant’s control. Each of these
risks creates significant uncertainty concerning whether Luminant will meet its threshold EBITDA
targets. While these factors are the same year-over-year, each may have different impacts on
Luminant’s EBITDA over different periods of time.

5.1.2.1.1 Luminant EBITDA Risk Factors

Weather and Demand Risk: Temperature

In ERCOT, weather is a primary driver of customer load in winter and summer months due to electrical
heating and cooling demand. As load increases, generators with higher costs of supply enter the hourly
market, thus increasing electricity prices and margins (holding all else equal). As load decreases,
generators with lower operating costs supply the market and more expensive units are not dispatched,
thus lowering electricity prices and margins.

Depending on the extent and effectiveness of its hedging activities, Luminant has significant exposure to
changes in the weather. If the summer in Texas is cooler than expected, Luminant is likely to generate
less EBITDA; if it is warmer than expected, Luminant is likely to generate more EBITDA, depending on the
level of its hedging profile and the availability of its generating plants.

Risk related to changes in the weather creates uncertainty concerning Luminant’s EBITDA-based metrics.
Luminant earns much of its EBITDA in the summer, making the Company particularly sensitive to

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weather during that season. Weather forecasting is so critical to Luminant’s bottom line that the
Company employs a full-time meteorologist.

Weather and Supply Risk: Wind & Other Supply Factors

ERCOT is one of the leading markets for wind generation in the United States. The rapid increase of
non-dispatchable renewable power resources—such as wind generation—has decreased market
certainty (e.g. wind resources respond to changes in wind speed, not to changes in market demand).
Since 2004, the ERCOT market has seen the addition of approximately 12,000 megawatts of wind
capacity to the grid, increasing wind capacity by nearly 900%, as shown in Figure 5-2.

25,000 Mw
ane
ERCOT Wind Installations by Year (as of May 2015)
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© Cumulative MW Installed 1A Signed-Fin avcial Security Posted UA Signed: Mo Financlal Security
4am?
wn
20,000 MW
15,000 MW
10,000 MW an

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4916
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2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017

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Subsequert ye are totale Scheduling delay? w liane bereferted nthe pienned oreyecth anthise nfonmetoniarecehed

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Figure 5-2: ERCOT Wind Installations”

Wind generation, like the weather, is unpredictable. A high wind year could add millions of low dispatch
cost megawatt-hours to the grid, displacing higher-cost generation from the supply curve, depressing
market prices and reducing Luminant’s output and EBITDA.

ERCOT experiences high power prices during peak demand hours in summer months, particularly July
and August. An increase in the reserve margin (the amount of supply that exceeds peak demand) can

* ERCOT Generation Interconnection Status Report, May 2015.

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reduce the potential frequency and magnitude of high power price spikes in the energy market. In the
past three summers, the amount of these price excursions have been minimal as the reserve margins

have been adequate to support demand in the market,

Natural Gas Price Risk

Historically, natural gas power plants have been the marginal units in ERCOT, setting power prices for
the market in a majority of hours—aside from the weather or supply and demand risks described above,
the price of natural gas primarily determines electricity prices. As natural gas prices declined and low
cost wind generation was added, electricity prices dropped significantly in recent years,

Unhedged power revenues and EBITDA are highly sensitive to natural gas price movements. Because
natural gas is used in a variety of applications—including residential and commercial heating, power
generation and as a feedstock for multiple products—the price of natural gas is also driven by broader
economic factors as well as anticipated and actual weather conditions throughout the year. In addition,
individual power plants are subject to natural gas price risks due to pipeline constraints and
operational/reliability issues.

The Luminant portfolio of plants and executed market transactions bears risk to movements in natural
gas prices. This risk is evidenced in Figure 5-3, which tracks Luminant’s EBITDA (exclusive of the natural
gas corporate hedge program primarily executed around the time of the Company's privatization in
2007) in relation to Houston Ship Channel (“HSC”) natural gas prices:

Figure 5-3: Luminant Open Management EBITDA vs. Houston Ship Channel Natural Gas Prices

As depicted above, natural gas prices in Texas have steadily decreased since experiencing a temporary
spike in early 2014 that was attributable to the Polar Vortex weather phenomena—which brought
unexpectedly cold weather to many regions. For the 2016 budget, the annual HSC natural gas price is

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expected to be $3.06 per million British thermal units (“MMBtu”), a decrease of 16% as compared to
2015 levels. As of November 19, 2015, the annual HSC natural gas price has declined to $2.51 per
MMBtu, 55 cents per MMBtu less than projected in the 2016 budget.

Coal Fuel Cost Risk

In addition to impacting power prices and thus revenues (when the marginal production unit is coal-
fired as opposed to natural gas-fired), coal prices have a significant impact on Luminant’s fuel expenses.
Luminant’s predominately coal-based fleet utilizes two different types and sources of coal: (1) lignite
coal mined adjacent to Luminant power plants in Texas, and (2) sub-bituminous coal transported via rail
from the Powder River Basin of Wyoming and Montana. Currently, three of Luminant’s five coal-fired
generating plant sites utilize both types of coal in their day-to-day operations, while the other two
generating plant sites utilize lignite exclusively. Both sets of fuel are affected by a number of significant
factors including, but not limited to, those shown in Table 5-2;

Table 5-2: Major Contributing Factors to Coal Fuel Costs

NYMEX futures prices Mining productivity
Acquisition and contracting Fuel quality (MMBtu/ton)
Rail transportation and fuel Mining costs & capital expenditures
Railcar maintenance Mine safety & regulatory compliance

Transportation and handling at plant

Ash disposal

Commodity price uncertainty and operational complexity creates risk around Luminant’s coal fuel costs
and thus its ability to meet EBITDA targets. Additionally, costs of mining and procuring coal are
materially impacted by compliance costs related to the many pertinent environmental and regulatory
rules governing the mining and land remediation process.

Operations Risk: Power Plant Availability

Ideally, power plants would be available 100% of the time; however, as with any complex industrial
process, generators require occasional down-time for repairs and preventative maintenance, including
for forced outages (i.e., unplanned outages) and planned outages. Because no energy revenues are
generated during outages, power plant availability rates can have major impacts on EBITDA. This is
especially true during the summer and winter seasons, when power prices are higher than average.

Luminant’s availability targets (and by extension its EBITDA metrics) are at risk because unplanned
outages are by definition unpredictable. In addition, the risk of unplanned outages increases the more

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that Luminant runs its power plants—all else being equal. There are thus practical, in addition to

physical, limitations that constrain Luminant’s power plant availability.

Commodity Price Hedging and Trading Risk

Market power prices in ERCOT have exhibited very high levels of volatility (more than 200% in actively-
traded day-ahead markets over the past two years). In other words, based on historical daily price
movements, it would not be surprising if daily settled power prices doubled, or were cut in half over the
course of a year. This volatility results from a number of factors, including (1) the unpredictability of
weather, load, and fuel prices; (2) the inability to store electric power efficiently; (3) the inelasticity of
consumer demand; and (4) the illiquidity of power markets. As a consequence, Luminant enters into
financial and physical hedges to mitigate these risks. Luminant’s ability to generate hedging and trading
profits is impacted by its creditworthiness and the availability of counterparties within the financial

markets.

Luminant currently estimates that hedging and trading activities will contribute approximately (eq
(ery to 2016 EBITDA. This objective will be very challenging to achieve—especially in the current
energy market and given Luminant’s distressed state.

Cash Flow Risk: O&M and SG&A Expenses
O&M and SG&A expenses include:

e Non-fuel power production costs;

e Routine (non-capitalized) repairs and improvements;
e Salaries and wages;

e Property and other non-income taxes;

e Corporate overhead costs; and

e Hedging and trading overhead.

Many of these expenses vary significantly from year to year depending upon plant performance, outage

schedules, labor and industrial equipment markets, and regulatory conditions.

5.1.2.1.2 Luminant Management EBITDA: Year-Over-Year Analysis

For 2016, Luminant is targeting | dodo ay in EBITDA to trigger a threshold bonus, | Wa bes for

baseline, and for superior. The baseline target is

In addition to this
primary power price driver, other factors such as a higher blending rate of PRB coal and additional

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environmental compliance costs have adversely affected 2016 Luminant Management EBITDA as
compared to 2015.

5.1.2.1.3. Luminant Management EBITDA: Scenario Analysis

In light of lower power price expectations for 2016, as well as other year-over-year changes, | assessed a
number of different scenarios to understand the risks around Luminant’s EBITDA targets for 2016. As |
explained above, Luminant’s EBITDA performance is dependent, at least in part, on its performance with
regard to its other metrics—availability and total costs.

FEP evaluated five representative and realistic scenarios in which Luminant would fall short of its
threshold Management EBITDA metric. For example, in Scenario 1, FEP modeled likely outcomes if 2016
power prices settle at levels which replicate average realized market heat rates over the last two years
and the costs of lignite exceed expectations by 10%. Scenario 2 models the situation in which 2016
power prices settle at the maximum monthly realized heat rates for the past two years and Luminant
exceeds its expected total coal fuel costs by 10%. Both heat rate scenario assumptions are realistic
because annual around-the-clock market heat rates would only have to change by approximately 0.40
MMBtu/MWh and 0.05 MMBtu/MWh, respectively—relatively minor movements when compared to
historical market heat rate movements. As a point of reference, between October 27, 2014 (the
commodity curve date utilized in the November 2014 FEP Declaration) and July 31, 2015 (the
commodity curve date utilized in the Company's 2016 budget), the 2016 annual ERCOT North Hub
around-the-clock market heat rate declined by 0.71 MMBtu/MWh and the around-the-clock power price
decreased $9.95/MWh. Both coal fuel cost scenario assumptions are realistic as costs could adversely
move by 10% due to events such as (1) adverse weather impacts on mining activities; (2) higher than
anticipated costs of recovery for mining reserves; (3) safety considerations requiring a closure of certain
mining areas (similar to the Sandow Three Oaks mining area closure in 2012); (4) lignite production
falling short of estimates, thus requiring the Company to cover the shortfall with higher priced PRB fuel;
or (5) an extended outage of the coal conveyor system between the Three Oaks mine and the Sandow
power plant, which would necessitate high cost trucking expenses to get lignite fuel to the Sandow
power plant.

Additional scenarios model the effects of increased O&M and SG&A spending, unplanned nuclear
generation outages, unplanned coal unit outages, higher wind power capacity factors, and reduced
trading margins—all critical factors that generators face in ERCOT. For each scenario, FEP’s proprietary
generation asset dispatch model optimized the operations of Luminant’s fleet—given a specific range of
predicted commodity prices—to forecast revenues, variable costs and other financial contributors to
EBITDA. FEP also conducted extensive Company diligence to estimate costs and to assess the sensitivity
of Luminant’s physical and financial transaction portfolio to commodity price movements.

The results of FEP’s EAIP/AIP EBITDA scenarios are shown in Figure 5-4:

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Figure 5-4: Summary of EAIP/AIP Luminant EBITDA Multifactor Scenarios Analyzed by FEP

This fundamentals-based approach captures interrelationships between multiple risk factors and their
dynamic impacts on the bottom line. Each of the five scenarios provides a realistic scenario in which
Luminant might perform below or near its threshold-level metrics. There are dozens of other, equally
plausible scenarios that would result in a similar outcome. For example, based on the July 31, 2015 open
power commodity positions, a simple decrease in ERCOT North Hub around-the-clock power prices of
$2.60/MWh, would cause Luminant to miss its EAIP/AIP threshold by approximately $1 million. Based on
FEP’s analysis, | believe that Luminant’s EAIP/AIP EBITDA metric is challenging and motivates the
management team to perform at a high level.

5.1.2.2 Coal Available Generation

The second metric in Luminant's scorecard is Coal Available Generation—a measure of how often power
plants are “available” to generate and sell power during the summer months. This metric measures the
total energy that the Company’s coal generation units are able to produce after accounting for planned
outages, decreases in available generator capacity from fuel, and mechanical or ambient temperature
factors. For 2016, the EAIP/AIP focuses on the summer period from June 1 - September 15 (the period in

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which a high proportion of Luminant’s EBITDA is generated) for assessing Luminant’s Coal Available
Generation performance. FEP compared the Luminant metric to historical industry averages.”

Year-Over-Year Analysis: Summer Period (June 1 — September 15).  Luminant’s summer coal
availability EAIP/AIP threshold slightly exceeds the five year industry average of 88%, while the baseline
for EAIP/AIP exceeds historical industry performance over each of the past five years by an average of
over 3%.

Figure 5-5 compares the calculated equivalent availability factor (“EAF”) for Luminant’s summer coal
availability metric to the year-over-year industry EAF.

po ~ 2016 Luminant Coal Plant Availability Targets vs. Industry Historicals |

Hg (June 1- September 15)
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92

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86 Fecal | | | |
84 | | | | |
82 | |

2010 2011 2012 2013 2014

MIndustry Average eme Threshold Baseline sme Superior —

Figure 5-5: Luminant EAIP/AIP Coal Plant Summer Availability Targets vs. Industry Historicals

In the 2016 metrics, the range between the baseline and threshold performance levels for summer coal
available generation is equal to the range used in the 2015 metrics. If expressed in terms of MWhs,
there is a 2% decrease in the threshold, baseline and superior amounts for 2016, which is caused by a
higher expectation of operational derates on certain coal units primarily due to an increased utilization
of burning PRB coal in units that were originally designed to burn lignite.

Analysis of Metrics. This availability target is challenging to attain. Because the peer group of plants is
weighted towards plants that burn higher quality fuels (e.g., bituminous coal), Luminant’s lignite-based
fleet is subject to a more challenging operating environment. Despite this disadvantage, the summer
EAIP/AIP threshold target for Luminant’s Coal Available Generation metric demands performance at the
average historical industry performance over the past five years—without even accounting for the

° FEP relied on data from the North American Electric Reliability Corporation's (“NERC”) Generating Availability Report
(“pe-GAR”) database. Specifically, FEP extracted statistics for the Equivalent Availability Factor (“EAP”) variable for coal
plants from 2010-2014,
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challenges presented by the lignite based fleet. The baseline performance target exceeds industry
averages by a significant margin.

Generation availability at or above the industry average is meaningful and incentivizing because of the
high volatility of commodity prices in the ERCOT market. Power plants must be available to earn
margins from price excursions that can increase to as high as $9,000/MWh under tight supply
conditions. For example, if Luminant has an additional 1,000 MWs of generation available when power
prices increase to $9,000/MWh, Luminant will earn approximately $9 million of incremental EBITDA for
that hour—over 1% of its total forecasted EBITDA for all of 2016. Also, availability is important over the
course of the summer. If availability is 1% greater on the entire Luminant coal fleet for the summer
period and all of these hours produce economic generation, the incremental EBITDA improvement
based on prices budgeted for 2016 could range from $3 - $16 million per year. | believe that these
metrics are incentivizing.

5.1.2.3. Nuclear Available Generation

FEP conducted a similar analysis of Luminant’s Nuclear Available Generation. This metric measures the
total energy that the Company's nuclear generation units are able to produce after accounting for
planned outages.’

Year-Over-Year Analysis. All of Luminant’s 2016 nuclear targets are more stringent than industry
averages over each of the past five years. Luminant’s EAIP/AIP threshold exceeds historical industry
performance over each of the past five years by an average of 2%. The 2016 threshold performance
metric is 0.3% less than the 2015 threshold level due to a two day increase in the number of scheduled
refueling outage days—the increase in outage days for 2016 is primarily related to the need to complete
additional maintenance work on power generation components at the Comanche Peak facility.

EP relied on data from the NERC pe-GAR database. Specifically, FEP extracted statistics for the EAF variable for
pressurized water reactor nuclear plants from 2010-2014 excluding plants with an EAF less than 10%. Additionally, FEP
adjusted Luminant EAF factors to account for a single refueling outage year.

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2016 Luminant Nuclear Plant Availability Targets vs. Industry Historicals

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2010 2011 2012 2013 2014
Gailndustry Average e=Threshold Baseline exeSuperior

Figure 5-6: Luminant EAIP/AIP Nuclear Plant Availability Targets vs. Industry Historicals

Analysis of Metric. | believe that this metric is incentivizing not only because it requires better-than-
industry performance, but also because nuclear generators are susceptible to longer outages in light of
the stringent regulatory framework under which they operate. Accordingly, Luminant could not only
miss the threshold metric, but it might do so by a wide margin if its nuclear units at Comanche Peak
experience a prolonged unplanned outage. This would also adversely impact Luminant’s ability to attain
its EBITDA and O&M metrics. For example, a 1% decrease in availability at Comanche Peak could
represent approximately a $6 - $8 million loss in EBITDA. Additionally, if, for example, power prices
were to spike to $9,000/MWh for a one hour period when both units at Comanche Peak were not
available, Luminant would miss out on the opportunity to earn nearly $22 million in EBITDA over the
course of that hour.

The Nuclear Available Generation targets are reasonable stretch goals. They incentivize the Company to
minimize the impact of unplanned outages at its nuclear units and mitigate the adverse effects of
planned outages.

5.1.2.4 Total Cost

Luminant’s last metric involves targets for its O&M and SG&A expenses, plus CapEx. O&M and SG&A
expenses were previously described in section 5.1,2.1.1 (“Luminant EBITDA Risk Factors”). Capital
expenditures typically encompass larger-scale repairs and investments that cost more money and occur
over longer time horizons than O&M expenses. Examples of major CapEx spending at Luminant include:

e Lignite mine safety initiatives, equipment repairs and expansions;
e Generation repairs and major maintenance; and
e Nuclear refueling.

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Year-Over-Year Analysis. Luminant has

As Luminant EBITDA has been confronted by a

EEE Ultimately, the 2016 threshold for the total cost metric is J than

the threshold for 2015.

Analysis of Metrics. Members of the FEP engineering team have continued to visit Luminant’s coal-fired
generation plants, its nuclear generation plant, its natural gas-fired plants, and a majority of its mines
over the past year as part of its effort to assess the reasonableness of the Company's budgets, forecasts,
maintenance levels, safety practices and actual performance. The Company's commitment to cost

effective maintenance, safety and overall cost management was evident at the facilities.

In addition to site visits, FEP compared Luminant's objectives for total costs to industry values. Since
Luminant’s total cost metric is comprised of O&M, SG&A and CapEx for 2016, FEP similarly evaluated the
industry cost factors on a combined basis. FEP compared Luminant’s metrics to industry-wide historical
cost rates on a $/MWh basis for non-nuclear steam-fired and nuclear generation plants. The industry
data available from the Federal Energy Regulatory Commission (“FERC”) is accumulated for non-nuclear
steam-fired generators, irrespective of the generation fuel type (e.g., coal, natural gas, petroleum

products, etc.).

FEP compared this industry data to the metrics for Luminant’s fleet of coal and natural gas-fired steam
generation units. The cost rate for both Luminant and industry information in Figure 5-7 excludes
property tax expenses, fuel costs (including nuclear fuel costs), and CapEx for additional environmental
protection equipment, as well as costs from mining activity. Additionally, since the Luminant projection
for 2016 did not include expenditures for building new generation facilities, FEP excluded new facility

construction CapEx from the comparative industry data and analysis.

For the period 2010 through 2014, the industry average for non-nuclear steam generation related to the
combination of O&M/SG&A and CapEx was $21.06/MWh with a median value of $20.47/MWh. The
2016 EAIP/AIP threshold metric of $14.33/MWh places Luminant’s total cost for its non-nuclear
generation within the top quartile as compared to the combination of O&M/SG&A and CapEx for other
non-nuclear steam generation within the industry (with numbers below industry average being more
challenging to attain than higher numbers). This analysis further validated our on-site observations.

Luminant’s nuclear generation O&M/SG&A and CapEx numbers are similarly better than industry
average and median. Across the industry, nuclear generation O&M/SG&A and CapEx averages
$34.80/MWh with a median value of $35.59/MWh. Luminant’s 2016 EAIP/AIP threshold metric, by

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contrast, is $18.66/MWh, which places Luminant’s threshold objective at a best-of-class performance
level within the top quartile of performance as compared to other companies in the nuclear industry.

—Threshold O&M, SG&A and Capital Expenditure Costs
Baseline Luminant EAIP/AIP vs. Industry (S/MWh)
Superior

S10 $20 $30 SA0 $50

Non-Nuclear
Steam

Nuclear

Figure 5-7: Comparison of Industry Average Combined O&M, SG&A and CapEx Costs to the 2016 Metrics®

In addition to comparing Luminant’s costs to industry averages, FEP also examined common causes of
O&M and CapEx variances to further assess whether Luminant’s metrics are reasonable. If Luminant
must unexpectedly replace a single part in a major piece of generation equipment, such as a main
transformer or low-pressure turbine rotor, each individual repair might increase O&M costs by over $10
million or approximately $0.14/MWh. Additionally, unplanned major maintenance projects, such as the
rewinding of a nuclear or fossil generator stator or replacement of a superheater tube section on one of
the 12 coal-fired boilers, could increase Luminant’s CapEx by up to $25 million (approximately
$0.36/MWh) per occurrence.

5.2 Luminant Energy Commercial Incentive Plan

Luminant also has a Commercial Incentive Plan specifically limited to the approximately 50 employees
who execute all of the hedging and trading strategies for the Company. These employees are
responsible for (1) transacting and managing the sales for all of Luminant’s power generation; (2)

59010-2014 industry data from ABB Velocity Suite, FERC Form 1 filings for non-nuclear steam units within the se
percentile to 95" percentile range, and 2010-2014 industry data from Electric Utility Cost Group and ABB Velocity Suite,
FERC Form | filings for nuclear units. Industry data excludes values related to property tax expenses, CapEx for new
generation construction, mining, and additional environmental protection equipment for all non-nuclear steam and nuclear
plants. All historical costs converted to 2015 dollars.

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acquiring all of Luminant’s fuel supply requirements; (3) managing and transacting for all of TXU
Energy’s needs; (4) executing hedges and trades; and (5) all other commercial functions. The key driver
of the LCIP is the EIV or net profits attributable to hedging and trading transactions executed during
2016. One insider participates in this plan.

To create EIV, the hedging and trading specialists must enter into new market transactions that by their
very nature have no, or very little, EIV as of the transaction execution date, and by internal transactions
that are transacted at 2016 budget commodity prices. Therefore, the EIV for any year is created from
managing commodity positions within very volatile markets and from the market moving favorably for

the executed transactions. Losses, or negative EIV, can also be incurred on these same transactions.

individuals are only compensated under the LCIP if EIV exceeds EE. After that point, the LCIP
participants earn LH of the EIV on the next incremental i ees) of value. Beyond es of
total ElV value, the participants earn higher percentages for incremental value earned by Luminant with
a peak percentage for 2016 of (Nae. This plan is incentivizing as the LCIP funding level increases
concurrently with an increase in Luminant EBITDA. If LCIP EIV decreases, the plan participants lose
value.

The table below outlines the incentive pool funding level for the 2016 LCIP:

Table 5-3: LCIP Funding Schedule

Year-Over-Year Analysis. For 2016, the total baseline target ElV created by transactional activity within

the year is [MM (equal to 2015 levels), with ) of that amount related to settled
transactions in 2016—which directly impacts EBITDA. Compared to 2015 performance criteria, the 2016
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Analysis of Metric. Based on my experience, these metrics are reasonable, challenging and constitute
stretch goals that incentivize and award employees for exceptional performance. The challenge of
meeting these metrics underscores the challenge of meeting Luminant’s EBITDA target, which also
includes hedging and trading activity.

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5.3. Luminant Safety Program Incentive Plans

Luminant also focuses on ensuring that its power plants and mines are operated safely to protect the
thousands of Company workers at these facilities and the communities that live and work nearby.
Safety is at the heart of Luminant’s mission and, as such, the Company has undertaken actions to
incentivize and promote safe operating procedures and behaviors. Luminant has two separate incentive
programs to reward safety at its nuclear and fossil generation plants and mines. Combined, Luminant’s
nuclear and fossil safety programs cover approximately 3,500 full-time employees. These safety
programs represent a key portion of incentive pay for these employees: Fossil and mining — 15%,
Nuclear — 30%.

Luminant’s fossil safety program includes operations at its coal plants, natural gas plants, and mining
operations, and is quantified through the measurement of a “Safety Index” for each operational unit.
Safety Indices are based on the evaluation of defined objectives for participation in pre-job briefings for
various levels of employees: senior leadership, front line supervisors and craft personnel (only at the
mines) (70%), plus safety results (30%) based on the number of OSHA recordable injuries.

Luminant’s nuclear safety program metrics are based on the combined evaluation of site leadership
engagement (25%), hazard recognition (25%), behavior recognition (20%), and the number of OSHA
recordable injuries for the year (30%). Additionally, specific “Nuclear Safety” metrics are included for
radiological exposure measurements, significant station events, an environmental rating criteria, and
various standardized performance indicators tracked by the NRC.

Luminant’s safety performance is continually tracked and employees are rewarded annually for their
performance levels. In the event that any site fatality occurs, zero site safety payout occurs—regardless
of Personnel Safety Index score.

An overview of the Personnel Safety Index incentive metrics for Luminant’s Safety Program Incentive
Plans is included in Table 5-4:

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Table 5-4: Luminant Safety Program Incentive Plans “Personnel Safety Index” Metrics

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Mining Safety Metrics
Leadership Engagement — Senior Leaders 20 80% 4 per leader/month 120%
Leadership Engagement — Front Line Leaders 25 80% 10 pre-job briefings per leader/month 120%
Pre-lob Craft Level Brief Participation 25 80% Pnen Se oa. mae 120%
OSHA Recordables? 30 22 15 10
Fossil Safety Metrics
Leadership Engagement — Senior Leaders 35 80% 5 per leader/month 120%
Leadership Engagement — Front Line Leaders 35 80% 5 per leader/month 120%
OSHA Recordables* 30 7 5 3
Nuclear Personnel Safety Metrics
Comanche Peak Observation Index 25 70 80 90
Hazard Recognition 2s 80% ——_Jreports/month ps 20% BEAR patcpation| 120%
Behavior Recognition 20 80% 3% of employees recognized per month 120%
OSHA Recordables? 30 5 3 i

[HEAR = Behavior Lquals Accident Reduction
* {hone DART injury occurs payoutis hmited to a maximum of 100% for the six month period repardicss af satety index score. lwo or more DART injuries occur payout is zero regardless of safety index
score, Any site fatality resultsin cero sile payout regardless of index score,

The stated goal of the Company is always “Safety Zero,” as it strives to achieve zero adverse safety
incidents.

Zere

Figure 5-8: Luminant’s “Safety Zero” Motto

Year-Over-Year Analysis. 2016 performance criteria related to these metrics are primarily the same as
2015, with some modifications made to increase the challenge of attaining the metric or to better
engage employee participation. For example, threshold OSHA Recordable levels for the 2016 EAIP/AIP
for fossil and mining represent an approximately 12% improvement over the 2015 threshold, while the
2016 nuclear threshold OSHA recordable levels are the same as 2015 levels.

Analysis of Metrics. Given the very complex operating environment and the incredible importance of
maintaining safety, | believe that the safety metrics represent challenging goals that motivate
participants to instill and cultivate a culture of hazard awareness and proper operating practices that
protect employees, property, and the communities in which they operate.

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5.4 TXU Energy

TXU Energy is the EFH business unit that provides retail electric service to residential, commercial and
industrial end-users in the competitive ERCOT market. Since the Texas retail market opened to
competition for electricity customers in 2002, TXU Energy has faced increasing challenges from new
entrants offering different business models and pricing structures. To remain competitive and
profitable, TXU Energy must manage its sales volumes while maintaining or enhancing positive margins
and overall customer experience.

TXU Energy’s EAIP/AIP encourages strong 2016 financial performance as well as long-term stability and
corporate durability through effective management of EBITDA, cost, margin, customer counts and
customer experience metrics.

5.4.1 Overview of TXU Energy Performance Metrics

To incentivize employee performance, TXU Energy's 2016 EAIP/AIP scorecard uses five metrics: (1) TXU
Energy Management EBITDA; (2) TXU Energy Total Costs; (3) Contribution Margin; (4) Residential Ending
Customer Count; and (5) TXUE Customer Experience. The following table shows the 2016 EAIP/AIP
metrics.

Table 5-5: TXU Energy EAIP/AIP Metrics

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TXU Energy Management EBITDA ($mm)

SSOP CRETE TC CTT

4 Residential Ending Customer Count (000's 10 1,416
5 TXUE Customer Experience 15 EEC oe taeda ie Mes A Ur re

6 ‘Total Payout 100%

These metrics incentivize employees to navigate the Company through numerous performance risk
factors, any one or combination of which could result in a missed target and no EAIP/AIP payout.

5.4.2 FEP’s Metric Analysis

The following subsections detail FEP’s analysis of TXU Energy’s 2016 EAIP/AIP metrics and targets.

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5.4.2.1 TXU Energy Management EBITDA

TXU Energy’s first performance metric, Management EBITDA, includes revenues from retail electric sales
less (1) expenses associated with those sales and (2) the costs of procuring electric power from
wholesale providers.

TXU Energy operates in a highly competitive market with many retail participants and a low barrier to
entry for competitors. Accordingly, the Company's performance is highly sensitive to several
fundamental risk factors, including market competition, weather and its impact on electricity demand
and power supply prices, costs (e.g., SG&A, CapEx and bad debt), cyber event risk’, changes in
residential or business sales, power price volatility and TXU Energy’s ability to hedge and trade through
Luminant.

As | have previously explained, these performance risk factors are highly interrelated, and TXU Energy
has varying levels of control over each, as shown below in Figure 5-9.

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Figure 5-9: Relationship of TXU Energy Risk Factors Managed by an Integrated Risk Management Framework

° For example, in 2014 Home Depot (a large consumer retailer) had customer financial credit card and personal
information stolen via malware installed on their payment system. Home Depot reported gross costs through 2Q
2015 of $232 million, with the potential for additional future costs, resulting from this event. Source: Home Depot
Q2 2015 10-0, page 8.

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In fact, these risks affect each of the major components of EBITDA at TXU Energy: residential segment
margin, business segment margin, and SG&A costs.

5,.4.2.1.1 TXU Energy EBITDA Risk Factors

TXU Energy’s residential customers provide a significant amount of revenue (approximately $2.6 billion
projected for 2016) for the Company, with projected residential sales volumes of 20.6 million MWh, or
20.6 billion kilowatt-hours, for 2016. TXU Energy’s business and industrial segments account for 20.4
million MWh of projected 2016 sales volumes and $1.6 billion in revenues. The risk factors described
below will impact TXU’s ability to capture EBITDA at both its residential and business segments as
customers will be sensitive to movements in market electricity prices. These risk factors make meeting
the threshold and other TXU Energy EBITDA metrics far from certain.

Competition Risk: Margins and Customer Counts

Since the ERCOT retail market opened to competition in 2002, TXU Energy has faced increased
competition from other REPs. The number of REPs has continued to increase over time along with a
greater number of products and services from which retail consumers can choose. Because of this

competition, there is a reasonable risk that | Sa ae ae ae
| Sa RSET N YAW RRR fans ae Td SE hence, material downside risk exists to TXU Energy

margins.

From a customer count perspective, TXU Energy has also been engaged in a long-term battle with other
REPs for residential and business customers since the ERCOT market opened to retail competition in
2002. TXU Energy’s ability to retain or grow its base of residential customers in a competitive
marketplace is far from certain.

Procurement Risk: Weather

In ERCOT, weather is a primary driver of customer load in winter and summer months due to electrical
heating and cooling demand. While REPs typically provide power to their retail customers at fixed
prices, they are subject to significant risk if wholesale prices spike, as TXU Energy and other REPs must
procure power to cover their open position at market prices. Even when REPs are hedged at 100% of
their expected load, unplanned weather events may increase actual load and necessitate expensive
purchases of power in the open market.” These unplanned supply purchases can negatively impact

' For instance, weather events during the 2013 to 2014 winter forced a number of Northeastern REPs out of business. See
Hand, Mark, Bitter cold sends retail electric suppliers into default on payments, SNL Financial, February 4, 2014.

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EBITDA. For example, extreme weather that results in an incremental 1,000 MWh of additional TXU
Energy sales (approximately 0.0024% of projected TXU Energy 2016 sales volumes) over a two-hour
period of very high electricity prices might cause TXU Energy to lose nearly nm. more than fl
of its annual baseline EBITDA. In addition, mild weather conditions can also have a negative impact on
TXU Energy as customer usage declines below expected levels, thereby lowering revenues and the
resulting contribution margin.

Procurement Risk: Open Positions

At any point in time, TXU Energy’s portfolio of future electricity sales is not fully hedged. Changes in the
value of unhedged forecast sales may negatively impact EBITDA. For example, if more than 10 million
MWh of residential sales were unhedged at a particular point in time and wholesale electricity prices
increased $5/MWh, TXU Energy could lose more than ieee

Trading Risk: Energy Supply Book (“ESB”) Execution

TXU Energy's 2016 EBITDA target for the Company’s full year budget includes are ae attributable to
managing the ESB portfolio of electricity supply transactions that support residential and business sales
volumes. The ability to derive additional cash flow from trading and hedging activities while managing
TXU Energy's open position is uncertain. Managers must balance the cost of over-procurement (which
has little or no value if weather is milder than expected) against the risk of having to procure for excess
load at higher than expected prices. In addition, ESB income is dependent on margins generated from
executing transactions.

Cash Flow Risk: SG&A Expenses
SG&A expenses include:

e Sales and sales support staff
e Customer operations and marketing
o Contact centers
o Acquisition channel costs
o Mass advertising, sponsorships and partnership expenses
e Revenue operations
o Invoice and payment processing
o Credit card processing fees
o Postage expense
o Collections recovery expense
e® Modifications and maintenance of billing platform
e Employee benefits, sales incentive plans, AIP and business insurance

® Functional support (e.g., human resources, legal, finance, tax, accounting and corporate)

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e Management labor
® Facilities rent and maintenance

e Data center expense

Several of these expenses are uncontrollable, subject to consumer behavior or regulatory changes.
Other expenses are controllable, but heavily influenced by market forces and competitor action (e.g.,
marketing, customer incentives, and service-related labor). Finally, TXU Energy builds expense challenge
into the SG&A budget, requiring continual efficiency improvements in order to meet budgeted targets.

Cash Flow Risk: Bad Debt

TXU Energy’s primary credit risk exposure is largely due to final bill non-collection rates that range from
40% to 60% of the final invoice amount due from former customers. Bad debt expenses can materially
increase if TXU Energy experiences higher customer attrition. In addition, variances to budgeted write-
offs can be exacerbated by bill stress from weather-driven load (higher billed amounts), changes in

macroeconomic variables such as unemployment rates, or changes in portfolio credit quality.
5.4.2.1.2 TXU Energy Management EBITDA: Year-Over-Year Analysis

TXU Energy's 2016 Management EBITDA threshold, baseline and superior performance metrics eter!

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PE  §1X. Energy's 2016 Management EBITDA

threshold is approximately 10% below the baseline, similar to the threshold range for 2015,
5.4.2.1.3 TXU Energy Management EBITDA: Scenario Analysis

Each of the risks in Section 5.4.2.1.1 can alone or together adversely affect TXU Energy’s ability to meet
its Management EBITDA targets. To understand the potential risks, FEP evaluated five representative
scenarios in which TXU Energy would miss or barely meet its EBITDA threshold—each of which is
realistic.

For example, in Scenario 1, FEP analyzed the EBITDA impact if portfolio contribution margins aa
aes and, as a result, TXU Energy only achieved the threshold level for the 2016 EAIP/AIP
Contribution Margin metric. This scenario demonstrates that if TXU Energy performs at the threshold
level on the Contribution Margin metric for 2016, it will perform below payout levels on the
Management EBITDA metric, all other factors being held constant. The other scenarios explore the
effects of increased customer attrition, commodity price increases, energy procurement and delivery
execution cost risks, increased bad debt expenses, and increased marketing expenditures.

Each of the five scenarios as summarized in Figure 5-10 provides a realistic situation in which TXU Energy
would miss or barely meet its 2016 EBITDA threshold.

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Figure 5-10: Summary of EAIP/AIP TXU Energy EBITDA Multifactor Scenarios Analyzed by FEP

Based on FEP’s analysis, | believe that TXU Energy's EBITDA metrics for the 2016 EAIP/AIP are
challenging to attain and strongly incentivize TXU Energy management. In my opinion, the risks inherent
in the residential segment, business segment, and SG&A cost components of TXU Energy EBITDA have

significant potential to cause TXU Energy to miss its threshold performance levels.

5.4.2.2 TXU Energy Total Costs

The second metric focuses on managing Total Costs at TXU Energy. This metric incentivizes
management to effectively manage costs so that TXU Energy's operations are efficient and streamlined
even if EBITDA declines because of uncontrollable market events.

Year-Over-Year Analysis. For 2016, TXU Energy has targeted a baseline Total Costs metric that is iz

| Spun at 2 than the 2015 baseline target.

es. The growth initiatives budget allows TXU

Energy to commit to programs in new products (e.g., solar energy products) or value-added services that
are tested in the market with consumers. These programs are integral to developing new approaches to
attract and retain customers and important for the long-term growth objectives of TXU Energy. The net
change in the threshold metric for 2016 includes a similar increase as the baseline metric when

comparing to 2015 levels.

Analysis of Metric. There are at least three main categories of TXU Energy costs that are subject to
significant variation and make the 2016 TXU Energy Total Costs goal challenging: (1) SG&A expenses; (2)
bad debt expenses; and (3) Information Technology (“IT”) and other capitalized expenses. | have

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identified a range of potential risks to TXU Energy's Total Costs exceeding $25M over the threshold,
which are illuminated below.

EAIP/AIP Total Costs Risk

$390
2015 EAIP/AIP
Metric Range PNG threshora

identited tisk Rance Ene

Bad Debt Fz
IT / Capex EL

Figure 5-11: EAIP/AIP TXU Energy Total Costs Identified Risk Range

SG&A Expense Risk

Similar to Luminant, TXU Energy faces cash flow risks related to its SG&A costs. Significant uncertainty
exists around (1) TXU Energy’s ability to realize aggressive EBITDA stretch goals related to marketing
costs, employee turnover, efficiency improvements and non-labor savings; (2) costs related to retaining
high performing individuals and the potential recruiting costs associated with replacing individuals who
leave TXU Energy; (3) expenses due to prevention, mitigation and potential remediation of cyber
security issues; (4) unforeseen costs associated with accelerated obsolescence (or adoption) of IT
software or systems; and (5) uncontrollable operational costs driven by customer behavior such as
credit card processing fees or regulatory driven expenses such postage and notification expense.

FEP identified approximately $33 million in downside risk related to EAIP/AIP SG&A expenses, which, if
realized, would cause TXU Energy to miss its EAIP/AIP threshold metric.

For example, TXUE management has challenged the organization to absorb approximately $10 million in
staffing costs, customer service costs and other unidentified cost savings in 2016. In addition to the
management challenges, weather events and consumer behavioral trends present additional cost
pressures. Extreme weather events drive up call center volumes for various inquiries, while trends
associated with the increasing use of credit cards and other customer service initiatives increase costs.

Better operational performance can also increase costs. Higher-than planned acquisition (or lower-than
planned attrition) would result in above-plan performance on customer counts. For example, [eee

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Marketing and other customer incentive costs are always subject to upward pressure, and can
unpredictably and materially increase costs and diminish projected EBITDA. Other Texas REPs will likely
continue to aggressively compete with TXU Energy by offering discounted switching deals to customers.

Bad Debt Risk

| estimate at least aaa in bad debt expense risk for the full year, based on the possibility of
unexpectedly hot or cold weather increasing billing pressure and residential account switching. For
2016, bad debt expenses are budgeted at [Ij of total revenues. This rate increases to ra after
incorporating the potential risk range noted above, which is essentially at TXU Energy's average
historical bad debt expense rate of i for the period 2009 — 2014—well under the historical high of

Information Technology and Capital Expenditure Risk

5.4.2.3 Contribution Margin

TXU Energy's Contribution Margin metric measures the incremental value to TXU Energy’s bottom line
of each MWh sold. This metric is driven by the difference between top line revenues and the cost of
goods sold, and it helps to identify whether TXU Energy is sacrificing profitability for market share.

The baseline budget level for 2016 EAIP/AIP Contribution Margin for the portfolio of residential and

business customers is | ERR with a threshold of Jn

Year-Over-Year Analysis. TXU Energy's baseline Contribution Margin targets for 2016 are higher than
the 2015 EAIP/AIP metrics by EM primarily due to

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On a margin per unit basis, 2016 residential segment margin expectations are [aaah while
business segment margin expectations are Sid If the mix between residential segment

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primarily contracts through term offerings of fixed price products;

As shown in Figure 5-12, for the years 2010 — 2013, FEP’s estimate of the average retail margin for

competitive retail electric providers in the ERCOT market was approximately

if Contribution Margin falls to threshold (still significantly above market), and all other factors are held
constant, TXU Energy Management EBITDA would fall below threshold for the 2016 EAIP/AIP.

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Figure 5-12: Contribution Margin: TXU Energy 2016 EAIP/AIP vs. Market History”

Given the difficulties of maintaining a level of margin performance that exceeds industry averages, |
believe that TXU Energy's Contribution Margin EAIP/AIP metrics are highly challenging and incentivizing
to Company employees. The Contribution Margin metric constitutes a stretch goal.

5.4.2.4 Residential Ending Customer Count

As | explained in my previous report and at trial, the Residential Ending Customer Count metric works in
conjunction with the Contribution Margin metric to balance the incremental value of retail energy sales

with the maintenance of market share.

Year-Over-Year Analysis. The 2016 EAIP/AIP threshold targets an annual attrition rate of 4.9%, which is
over 24% less (and thus more challenging) than the 2015 EAIP/AIP performance target of 6.4% attrition.
By comparison, residential customer losses in any calendar year have reached at least 8.2% since 2009,
approximately 40% higher than the incentivizing threshold for 2016. It is important to note that the
baseline attrition rate for 2016 is 43% less than the comparable figure for 2015. When expressed in
customer counts, the superior target for 2016 is equal to the 2015 superior target, indicating the
establishment of aggressive targets within TXU Energy for retaining residential customers.

Analysis of Metric. | believe that the 2016 EAIP/AIP metric is incentivizing. TXU Energy's continued
margin management and intense competition have placed consistent pressure on TXU Energy's

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' Sources: U.S. Energy Information Administration, TXUE, PUCT.

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customer attrition metric is incentivizing to management and will be challenging to achieve in this
environment.

5.4.2.5 TXU Energy Customer Experience Sub-Scorecard

There are five distinct Customer Experience metrics that equally constitute the final 15% of the targeted
EAIP/AIP payout for TXU Energy: (1) Customer Satisfaction Percentage; (2) Average Days Sales
Outstanding; (3) Energizing Event Success; (4) Customer Complaints; and (5) System Availability
Percentage.

Table 5-6: TXU Energy EAIP/AIP Customer Experience Sub-Scorecard

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1 TXUE Customer Satisfaction % 3 83.70% 85.70% 87.70%
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"3 TUE Energizing Event Successitssues) | 3 | 9984% | 9992% | 9096%
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"5 TXUE System Avalabity % (Uptime) | 3 | 99.86% | 993% | 99.07%
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5.4.2.5.1 Customer Satisfaction Percentage

The Customer Satisfaction metric tracks residential segment customer satisfaction with TXU Energy
based on a Customer Quality (“CQ”) Index. This metric supports TXU Energy's premium brand
positioning by incentivizing management focus on consumer interface points.

The CQ Index is comprised of four customer survey measurements, weighted as follows:
© Enrollment (30%) uses continuous sampling of newly acquired customers concerning their level
of satisfaction with the sign-up process;
e Billing / Communications (40%) measures overall satisfaction with TXU Energy on a quarterly

basis;
e Customer Service — Call Center (15%) surveys customers about their overall satisfaction with

TXU Energy's telephone based customer channel; and
e Customer Service — Web (15%) asks a sample of website visitors who visit at least three pages to

rate their overall satisfaction with the website.

The CQ Index is affected by both internal and external factors and risks, including:

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e {T/ infrastructure availability and data accuracy. Response delays or system outages at call

centers or on the website detract from the consumer experience;
e Website design. The online interface needs to be clean and intuitive while providing information
and tools desired by the customer;

e Bill format changes or introduction of new products. Changes can create confusion for

consumers; new products and bills must be thoughtfully designed and tested, and TXU Energy’s
call centers must be trained to answer questions;

e Bill stress, Unusual weather and/or economic conditions can increase customer bills, drive down
overall satisfaction and increase call volume, driving up wait times and reducing customer
service satisfaction;

e Staffing. Employee levels at call centers must be adequately scaled to call volume; normal
employee turnover puts continuous pressure on selection and training programs; and

e Marketing and customer retention programs. Marketing campaigns and retention programs
must not only be carefully crafted to effectively target and engage customers in the ultra-
competitive ERCOT marketplace, but must also be effectively coordinated to avoid confusing
customers with mixed messages.

All of these risks—alone and together—mean that the customer satisfaction threshold is challenging to
attain. In addition, while precautions have been taken to secure customer data and avoid potential
cyber security problems, the risk of cyber-attack is real. The consequences of cyber-attack can have
massive negative repercussions to customer satisfaction.

Year-Over-Year Analysis. For 2016, the threshold, baseline and superior metric performance levels
have all been increased and made more challenging by 0.1% when compared to 2015 levels.

Analysis of Metric. FEP identified several potential risk factors, including a negative skew on this
metric’s performance potential of over 2% under the 2016 threshold. This negative skew is primarily
due to the fact that an unpleasant customer experience (such as a bill stress event caused by adverse
weather conditions or a telecommunications outage) is likely to cause negative feedback across more
than one of the CQ Index components. However, a pleasant customer experience is likely to result in
positive feedback in only the singular most relevant CQ Index component. Additionally since 2010,
average historical performance has been at the 2016 threshold.

in my opinion, the EAIP/AIP Customer Satisfaction Percentage metric properly incentivizes
management’s customer-centric focus in support of TXU Energy's brand strategy and is challenging to
achieve.

5.4.2.5.2 Average Days Sales Outstanding

Average Days Sales Outstanding (“DSO”) is defined as the total accounts receivable (including unbilled)
divided by the average daily revenue (including unbilled revenue) from the current and prior month.

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This metric measures TXU Energy's performance in mitigating credit exposure to retail customers
through the timely collections of payments.

Year-Over-Year Analysis. Over the past five years, TXU Energy has decreased its DSO from a high of
approximately 49.8 days in 2009, to its historically best performance in 2013 of 39.6 days. For purposes
of the 2016 budget, TXU Energy has assumed that the baseline will be at 40.0 days, an improvement of
0.3 days over the currently expected performance level for 2015. Recent trends in the large commercial
and industrial customer market toward more complex products have extended billing processes and
negatively impacted DSO relative to the historically best performance years. This situation has caused
TXU Energy to increase threshold, baseline, and superior metrics as compared to 2015 targets by less
than 1%.

Analysis of Metric. There are a number of ways that TXU Energy could miss its threshold DSO numbers,
including: (1) bill stress associated with weather extremes; (2) a degradation in macroeconomic
conditions that makes it more challenging to collect bills including, for example, a modest 1% increase in
the state unemployment rate; (3) observed historical variations in customer payment delays during the
year-end holiday season (DSO typically increases by as much as four to five days for November,
December and part of January as compared to the rest of the year); and (4) a breakdown in the process
of either timely billing distribution or payment collection.

My assessment of the risks associated with bill stress related to abnormal summer weather, the
possibility of slower than expected collection of payments in November and December, and the
potential for billing and payment processing delays, which have been realized in previous years, could
cause DSO to be 1.4 days higher than threshold. Combined with the greater complexity related to
custom contracts in the large commercial and industrial customer space, | confirm that this metric is
challenging and thus properly incentivizes Company management.

5.4.2.5.3 Energizing Event Success

The Energizing Event Success (“EES”) metric quantifies TXU Energy's effectiveness at minimizing Lights
Out in Error (“LOIE”) events affecting TXU Energy's customers. LOIEs occur when, as a consequence of
TXU Energy work or third-party actions, there is: (1) a turning on (energizing) or switching event at a
later date or time than the customer expects; (2) a de-energizing event at a date or time not expected
by the customer; or (3) a switch of service provider not expected by the customer. LOIE events are
primarily caused by simple mistakes during customer interactions and thus tend to increase with
changes in customer counts, bill-stress and customer switching activity. Missing these targets will likely
increase customer dissatisfaction, attrition rates, bad debt and complaints.

Year-Over-Year Analysis. The threshold performance levels are aggressive for the EAIP/AIP, as TXU
Energy must limit its LOIE rate to equal to or less than 0.16% of its approximately 2.6 million customer
transactions each year. Because this metric has an expected level of performance that nears perfection,

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the potential for downside performance is much greater than the upside potential. In order to achieve
threshold for 2016, TXU Energy must meet or exceed its average performance from 2011 through
projected full year 2015. In fact, the 2016 threshold, baseline and superior have all been increased from
2015 levels thereby decreasing the difference to perfect performance by 6%, 11% and 20%, respectively.

Analysis of Metric. The following figure shows that the 2016 metric performance level needed to
achieve EAIP/AIP thresholds is higher than realized performance levels in two out of the last four years,
as well as the average since 2011. | believe that the EES metric is a challenge to achieve and incentivizes
management to perform at a high level.

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Figure 5-13: Energizing Event Success: TXU Energy 2016 EAIP/AIP vs. Company Actuals

5.4.2.5.4 Customer Complaints

The Customer Complaints metric incentivizes continued levels of high customer satisfaction by
measuring consumer complaints recorded at the PUCT and the Better Business Bureau. Among REPs in
ERCOT during 2013, 2014 and the projected full year for 2015, TXU Energy has performed in the top
decile for the lowest rates of customer complaints recorded at the PUCT. The 2016 EAIP/AIP threshold
metric equates to approximately 1 monthly complaint per 35,000 customers at the PUCT, and
incentivizes a continuance of performance at that top decile level.

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Market Rate of PUCT Complaints

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Figure 5-14: Complaints to the PUCT

Year-Over-Year Analysis. The 2016 EAIP/AIP threshold, baseline, and superior metrics have been
decreased by 24, 20, and 16 complaints, respectively, as compared to 2015 levels in order to make these
goals more challenging. To put these year-over-year decreases into perspective, the metrics are
improving 3.5% against a residential customer base that is contracting only 2% (at baseline target) while
the number of business customers is expanding.

Analysis of Metric. Customer Complaints performance may be adversely affected by a number of risk
factors, including: (41) billing errors; (2) denial of service; (3) disconnect errors; (4) poor customer
service; and (5) poor marketing practices. Regardless of service, customers also tend to complain more
if their bills rise as a result of weather variability or shifts in the energy markets.

FEP evaluated the historical observed variations in TXUE rates of complaints since January 2012 and
determined that the historical performance for customer complaints implies a value of 745—55
complaints above the threshold amount for 2016.

In my opinion, the 2016 performance metrics remain challenging in this market and are incentivizing.

5.4.2.5.5 System Availability Percentage

TXU Energy's retail operations require consistently reliable information and communications
technology. The System Availability Percentage metric measures how well 13 critical IT and
communications infrastructure support systems function, recognizing that reduced availability of critical
systems can have deleterious effects on customer experience, acquisitions, real-time delivery execution,
billing and collections (e.g. DSO, bad debt), and other business indicators. Both planned events (such as

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software upgrades or deployment/integration of new systems) as well as unplanned events (such as
hardware failures, third-party network or telephony failure, third-party software bugs and application or
release defects) pose risks to the System Availability Percentage metrics.

Year-Over-Year Analysis. Historical TXU Energy System Availability percentages are shown in the figure
below. 2013 and 2014 performance levels were exceptionally high as the level of actual changes to
major systems and software modifications were relatively low, For 2016, we believe that the risks are
significantly higher as the level of major systems and software upgrades is scheduled to materially
increase, especially as compared to 2013 through 2015 levels. Despite the relative increased risk in
2016, the annual threshold, baseline and superior performance levels have all remained the same as

2015 levels.
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Figure 5-15: System Availability: TXU Energy 2016 EAIP/AIP vs. Company Actuals

Analysis of Metric. There is risk that TXU Energy misses its threshold target, depending on: (1) the
number of new software packages deployed in the period; (2) the amount of new hardware or physical
infrastructure deployed in the period; and (3) the familiarity of staff with applications or infrastructure.
Additionally, any cyber-attack could result in system outages far in excess of EAIP/AIP threshold levels.

Meeting EAIP/AIP threshold performance would require that each of TXU Energy’s systems experience
cumulative outages of approximately 13 hours over all of 2016—an incentivizing stretch goal.

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5.5 Business Services

5.5.1 Overview of Business Services Performance Metrics

To incentivize corporate-level performance, the Business Services EAIP/AIP scorecard uses two metrics
for 2016 which are weighted equally: (1) Luminant Scorecard Multiplier; and (2) TXU Energy Scorecard
Multiplier.

Table 5-7: Business Services EAIP/AIP Metrics
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1 Luminant Scorecard Multiplier (%)

2 TXU Energy Scorecard Multiplier (%)

3 Total Payout

In 2014 and 2015, the Company had utilized three additional metrics (Competitive Management EBITDA,
Competitive Total Spend and EFH Business Services Costs) on the Business Services scorecard. The
consolidation down to two metrics reflects the Company’s desire to better align the corporate level
service functions with the performance of the operating subsidiaries, as well as the fact that nearly
100% of EFH Business Services Costs are now billed and allocated down into Luminant and TXU Energy.
Under the previous structure, a Business Services level manager could have decreased service company
costs, which would have resulted in a higher incentive return to the Business Services unit, irrespective
of any potential adverse effect that the cost decrease may have had on a business need at the subsidiary
level. The revised structure removes this potential conflict and better aligns corporate level incentives
with the overall performance of the operating subsidiaries.

As an example, FEP analyzed a scenario where the former EFH Business Services Costs metric performed
at a superior performance payout level while all other stand-alone metrics performed at a baseline level.
Under the 2015 metrics, the total payouts for Luminant, TXU Energy and Business Services under such a
scenario were 109%, 111% and 130%, respectively. For 2016, Luminant, TXU Energy and Business
Services all would receive a total payout of 112.5%—confirming the alignment of incentive returns
across the Company. FEP also confirmed that the same alignment of incentive returns occurs if the
former EFH Business Services Costs metric performed at a threshold level while all other stand-alone
metrics performed at a baseline level.

The Business Services scorecard appropriately tracks the Luminant and TXU Energy metrics in terms of
the Scorecard Multipliers because it supports those units’ work.

5.5.2. FEP’s Metric Analysis

5.5.2.1 Luminant and TXU Energy Scorecard Multipliers

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The Luminant and TXU Energy Scorecard Multipliers replicate the metrics used for the business units,
and they are utilized for participants in the Business Services group. This report explains in other
sections why, after detailed review, | conclude that the business unit metrics are incentivizing stretch
goals, not lay ups, and so | will not repeat that discussion here. The levels for this metric are the same in
2016 as they were in 2014 and 2015 for both the AIP and EAIP programs.

5.6 Key Leader Performance Program

5.6.1 Overview of Metrics

To incentivize exceptional corporate-level income and cost control performance throughout the year,
the Company’s Key Leader Performance Program is evaluated quarterly and is based on two metrics that
were formerly associated with the Business Services scorecard: (1) Competitive Management EBITDA,
and (2) Competitive Total Spend. Pursuant to the KLPP, these metrics have no superior objectives as the
payout is limited to accruing only up to baseline levels. These metrics are shown in Table 5-8.

Table 5-8: Key Leader Performance Program

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1 Competitive Management EBITDA ($ mm) 60
2 Competitive Total Spend ($ mm) 40
3 Total Payout 100%

5.6.2 FEP's Metric Analysis
5.6.2.1 Competitive Management EBITDA

Competitive Management EBITDA is defined as EBITDA for all EFH entities except Oncor. Accordingly,
results are driven by the operating entities Luminant and TXU Energy except for an immaterial level of
EBITDA at the corporate level. Due to the large number of internal and external variables that can
impact EBITDA at these two business units, there is a wide range of potential outcomes for Competitive
Management EBITDA.

Year-Over-Year Analysis. For 2016, the baseline Competitive Management EBITDA metric is less than
the 2015 EAIP/AIP metric by approximately [EEE Driving this change are two key effects: First,
year-over-year changes in commodity prices have reduced Luminant Management EBITDA projections.
Around-the-clock ERCOT North Hub annual power prices in the 2016 budget have decreased by over
$6/MWh as compared to annual power prices expected for 2015. Second, TXU Energy has increased its
2016 EBITDA estimate by Ba which increases Competitive Management EBITDA and partially
offsets the negative impacts of the decrease in power price expectations. The range from threshold to

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baseline for the Competitive Management EBITDA metric |e) Be oS ober REAL = "|

Analysis of Metric. Because the Competitive Management EBITDA metric relates primarily to the
operations of Luminant and TXU Energy, which are detailed in the previous sections, the relevant
business risk factors largely mirror the risk factors of those entities. Accordingly, significant uncertainty
exists in management's ability to meet the Competitive Management EBITDA metric threshold
performance levels, and this metric is strongly incentivizing.

5.6.2.2 Competitive Total Spend

The next metric, Competitive Total Spend, encompasses all expenses (including CapEx) incurred by all of
the non-Oncor EFH subsidiaries. This metric is the sum of a number of other metrics discussed in other
sections of the report—specifically, Luminant Total Cost and TXU Energy Total Costs, plus approximately
S60 million dollars of corporate-level SG&A expenses and CapEx relating primarily to property
management costs and IT.

Year-Over-Year Analysis. For 2016, the baseline and threshold Competitive Total Spend metric is je

nes this MEE can be primarily attributed

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Analysis of Metric. The PR for 2016 has made the attainment of this metric

significantly more challenging. As discussed within the Luminant Total Cost and TXU Energy Total Costs
sections, there are a multitude of potential downsides that could occur in 2016, resulting in actual
results not attaining the threshold level of performance in 2016.

5.7 SPC Supplemental Incentive Award

5.7.1 Overview of Metrics

To incentivize exceptional corporate-level income performance throughout the year, the Company's
SSIA is evaluated semi-annually and is based on the same Competitive Management EBITDA metric
utilized in the KLPP. Pursuant to the SSIA, these metrics have no superior objectives as the payout is
limited to accruing only up to baseline levels. This metric is shown in Table 5-9,

Table 5-9: SPC Supplemental Incentive Award

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Total Payout

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5.7.2 FEP’s Metric Analysis
5.7.2.1 Competitive Management EBITDA

Refer to Section 5.6.2.1 for a discussion of this metric for 2016.

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Appendix A

Company Insiders and Scorecard Calculations

The following table lists the 23 insiders’ who are subject to the EAIP, and the derivation of their EAIP
performance scorecard metrics as a function of business unit performance. These individual weightings
are consistent with historical practices.

Table A-1: List of Insiders and EAIP Performance Scoring

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Paul Keglevic’ 50% 50% : - 100%
Michael Carter - 100% - . 100%
Patrick Chase - 100% - - 100%
Joseph Ho . 100% - - 100%
Anthony Horton - 100% . * 100%
Carla Howard - 100% - - 100%
Kris Moldovan - 100% - - 100%
Terry Nutt 100% : - 100%
Lisa Blocker - 100% - - 100%
Carrie Kirby’ 50% 50% . : 100%
Theresa Muscato - 100% - - 100%
Stacey Doré” 50% 50% - - 100%
Mac McFarland® 25% - 75% - 100%
Richard Federwisch” = = 100% - 100%
Rafael Flores’ : - 100% . 100%
Robert ("Bob") Frenzel’ - - 100% - 100%
Stephen Horn’ - - 100% . 100%
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Steve Muscato : - 100% - 100%
Jim Burke* 25% . * 75% 100%
David Faranetta™ = : . 100% 100%
Scott Hudson - - - 100% 100%

1, Member of Strategy & Policy Committee.
2, Portion tied directly to Luminant Safety Program Incentive Plans.
3, Also reports to Paul Keglevic.

The derivation of each individuals’ respective weighting is directly correlated to the focus of his or her
daily activities. For example, Mac McFarland, who is the Chief Executive Officer (“CEO”) of Luminant,
and Jim Burke, who is the CEO of TXU Energy, each have 25% of their bonus tied to global corporate
performance. The activities of their respective entities are intertwined because TXU Energy relies on

'? “Twenty-two Company employees within the EAIP are considered insiders, while a single employee who participates in
the AIP may be a insider because the employee is married to a member of senior management.

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Luminant to supply it with power at market prices, while Luminant relies on TXU Energy as a major sales
channel for its power production.

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